         Case 4:19-cv-00655-BSM Document 240 Filed 01/09/24 Page 1 of 2

                              United States Court of Appeals
                                     For The Eighth Circuit
                                      Thomas F. Eagleton U.S. Courthouse
                                      111 South I 0th Street, Room 24.329
                                    St. Louis, Missouri 63102
                                                                                    VOICE (314) 244-2400
Michael E. Gans
                                                                                      FAX (314) 244-2780
Clerk of Court
                                                                                    www.ca8.uscourts.gov



                                                             January 09, 2024


Clerk, U.S. District Court, Eastern District of Arkansas
U.S. DISTRICT COURT
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Eastern District of Arkansas                                                       
RoomA149                                                                            Jan 09, 2024
600 W. Capitol A venue
                                                                                4AMMY ( $OWNS LERK
Little Rock, AR 72201-0000
                                                                                 By: JohnHibbs D.C.
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                                                                                                      
       RE: 22-2067 Janice Warren v. Mike Kemp, et al
           22-2169 Janice Warren v. Mike Kemp, et al

Dear Clerk:

        Enclosed is a copy of a letter from the Supreme Court stating certiorari has been filed in
the referenced cases.

                                                             Michael E. Gans
                                                             Clerk of Court

BNW

Enclosure( s)


           District Court/Agency Case Number(s): 4:19-cv-00655-BSM




   Appellate Case: 22-2067         Page: 1           Date Filed: 01/05/2024 Entry ID: 5351464
       Case 4:19-cv-00655-BSM Document 240 Filed 01/09/24 Page 2 of 2

                  Supreme Court of the United States
                         Office of the Clerk
                     Washington, DC 20543-0001
                                                                  Scott S. Harris
                                                                  Clerk of the Court
                                                                  (202) 479-3011
                                   January 5, 2024


Clerk
United States Court of Appeals for the Eighth
Circuit
Thomas F. Eagleton Courthouse
111 S. 10th Street, Room 24.329
St. Louis, MO 63102-1125


      Re: Janice Hargrove Warren
          v. Mike Kemp, et al.
          No. 23-728
          (Your No. 22-2067, 22-2169)


Dear Clerk:

     The petition for a writ of certiorari in the above entitled case was filed on
January 3, 2024 and placed on the docket January 5, 2024 as No. 23-728.




                                         Sincerely,

                                         Scott S. Harris, Clerk

                                         by

                                         Rashonda Garner
                                         Case Analyst




   Appellate Case: 22-2067     Page: 1     Date Filed: 01/05/2024 Entry ID: 5351464
